                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR66

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
RONALD WASHINGTON (6),              )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on its own Motion. On October 2, 2006, this Court

signed an Order permitting Defendant to waive his physical presence at his re-sentencing hearing

and permitting Defendant to appear via telephone, video conference, or other electronic means.

In accordance with that Order, the Court requests that the Taft Correctional Institution, located at

1500 Cadet Road, Taft, California 93268, permit Defendant Ronald Washington, Register

Number 23563-112, to appear by video conference for his re-sentencing hearing, which is

scheduled for Monday, November 27, 2006 at 2:15 p.m. In order to accommodate this request,

the responsible individual at the Taft Correctional Institution can contact Mr. Kent Creasy, Chief

Information Officer for the United States District Court for the Western District of North

Carolina, at (704) 350-7424 or 401 W. Trade Street, Charlotte, North Carolina, 28202.

       IT IS, THEREFORE, ORDERED that the Taft Correctional Institution make

Defendant Ronald Washington, Register Number 23563-112, available via video conference for

his re-sentencing hearing on Monday, November 27, 2006 at 2:15 p.m.

       The Clerk is directed to send copies of this Order to: (1) the Warden at CI Taft,

Correctional Institution, P.O. Box 7000, Taft, California 93268; (2) Pam Jones, Acting Executive

Assistant CI Taft, Correctional Institution, P.O. Box 7000, Taft, California 93268; (3) Kent



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Creasy, Chief Information Officer for the United States District Court for the Western District of

North Carolina; (4) Defense Counsel; and (5) the United States Attorney.



                                                Signed: October 6, 2006




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